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EXHlBIT F

Case 1:09-cV-00597-LI\/|B-TCB Document 41-7 Filed 10/23/09 Page 2 of 2 Page|D# 711

Roth, Me|issa R.

From: Dickinson. Miche||e J.

Sent: Friday, October 02, 2009 8:47 PN|
To: 'isabe|@hhylaw.com'

Cc: Roth, Me|issa R.; Cramer, Vanessa
Subject: Re: Loomis |aptops

Isabel,

Thank you for your email. As explained in our letter, we will be paying a consultant to
facilitate the exchange of the laptop computers as a result of Joe's return of the wrong
computer after his termination. In order to avoid unnecessary additional expenses, it
makes sense to have the consultant make only one trip to Arizona and image the tower and
the other computers in Joe's possession, custody or control during that visit. Please
confirm your agreement with this arrangement. Thanks.

Michelle

Michelle J. Dickinson

DLA Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryland 21209-3600
(410) 580-4137 Direct Phone
(410) 580-3137 Direct Fax
michelle.dickinson@dlapiper.com

ATTORNEY WORK PRODUCT

----- Original Message -----

From: Isabel M Humphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J.

Sent: Fri OCt 02 20:03:08 2009

Subject: RE: Loomis laptops

Michelle, I've reviewed your latest communication regarding the laptops. I'm glad we have
finally resolved the ownership issue. Please have your computer tech call me to arrange a
time to exchange the laptops. I will be in the office most of the day Monday and Tuesday.

I will respond to the other issues raised in your letter, but obviously NEI is required to
return Joe‘s property immediately and unconditionally.

Isabel M. Humphrey, Esq.
HUNTER, HUMPHREY & YAVITZ, PLC
2633 E Indian School Rd, #440
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